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 7
                                 IN THE UNITED STATES DISTRICT COURT
 8                                    FOR THE DISTRICT OF NEVADA

 9
     YEHUDA IZMAGRISTO,                              ) Docket No.
10                                                   )
                    Plaintiff,                       )
11                                                   ) COMPLAINT
            vs.                                      )
12                                                   )
                                                     )
     FIRST BANKCARD; a division of                   )
13                                                   )
     FIRST NATIONAL BANK OF OMAHA.                   )
14                                                   )
                    Defendant.
                                                     )
15

16

17          Plaintiff Yehuda Izmagristo ("Plaintiff") by and through his attorneys, The Law Offices of
18   Robert M. Tzall as and for his Complaint against Defendant First Bankcard, a division of First
19
     National Bank of Omaha ("Defendant") respectfully sets forth, complains and alleges, upon
20
     information and belief, the following:
21

22

23                         INTRODUCTION/PRELIMINARY STATEMENT

24            1.    Plaintiff brings this action for damages and declaratory and injunctive relief arising

25        from Defendant's violations of Section 227 et. seq. of Title 47 of the United States Code,
26
          commonly referred to as the Telephone Consumer Protection Act (''TCPA'').
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 1          2.      The TCPA was designed to prevent calls like the ones described within this
 2       complaint, and to protect the privacy of citizens like the Plaintiff.
 3
               3.   In enacting the TCPA, Congress intended to give consumers a choice as to how
 4
         creditors and telemarketers may call them, and made specific findings that “technologies
 5
         that might allow consumers to avoid receiving such calls are not universally available, are
 6

 7       costly, and are unlikely to be enforced, or place an inordinate burden on the consumer.

 8       TCPA Pub. L. 102-243, Section 11.

 9             4.   Toward this end, Congress found that “banning such automated or prerecorded
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         telephone calls to the home, except when the receiving party consents to receiving the call
11
         or when such calls are necessary in an emergency situation affecting the health and safety of
12
         the consumer, is the only effective means of protecting telephone consumers from this
13
         nuisance and privacy invasion Id. at §12; see also Martin v. Leading Edge Recovery
14

15       Solutions, LLC, No. 11-C-5886, 2012 WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing

16       Congressional findings on TCPA’s purpose).
17             5.   Congress also specifically found that “the evidence presented to the Congress
18
         indicates that automated or prerecorded calls are a nuisance and an invasion of privacy,
19
         regardless of the type of call....” Id. at §§ 12-13. See also Mims, 132 S. Ct. at 744.
20

21

22                                               PARTIES

23        6.        Plaintiff is a resident of the State of Nevada, County of Clark, residing at 8945

24     Waymire Creek CT, Las Vegas, NV, 89147.
25             7.   Defendant First Bankcard is a Nebraska corporation with an address for service at
26
         1620 Dodge St, Stop 3290, Omaha, NE, 68197.
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 1                                  JURISDICTION AND VENUE
 2        8.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well
 3
       as 15 U.S.C. § 1692 et. seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendant
 4
       jurisdiction over the State law claims in this action pursuant to 28 U.S.C. § 1367(a).
 5
          9.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).
 6

 7        10.     To have standing in federal court, Plaintiff must have suffered a particularized and

 8     concrete harm.

 9        11.     Unwanted calls cause both tangible and intangible harms.
10
          12.     Plaintiff received unwanted calls from the Defendant in the state of Nevada
11
       making this the proper jurisdiction and venue.
12
          13.     In the recent Supreme Court decision of Spokeo, Inc. v. Robins, 136 S. Ct. 1540
13
       (May 16, 2016), the Court stated that one way to establish that an intangible injury is concrete
14

15     is to evaluate whether it “has a close relationship to a harm that has traditionally been

16     regarded as providing a basis for a lawsuit in English or American court.” Id at *7.
17        14.     For example, invasion of privacy is an intangible harm that is recognized by the
18
       common law and is recognized as a common law tort.
19
          15.     When enacting the TCPA, Congress stressed the purpose of protecting consumers’
20
       privacy.
21

22        16.     As Senator Hollings, the Act’s sponsor, stated “Computerized calls are the scourge

23     of modern civilization. They wake us up in the morning; they interrupt our dinner at night;

24     they force the sick and elderly out of bed; they hound us until we want to rip the telephone
25     right out of the wall.” 137 Cong. Rec. 30,821-30,822 (1991).
26
          17.     In a recent decision discussing Plaintiff’s Article III standing for a TCPA claim,
27
       the Second Circuit stated “Leyse concluded that the plaintiff's receipt of an unconsented to
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 1     voicemail message was sufficient to establish a concrete injury. If an unauthorized voicemail
 2     is concrete injury, then this Court fails to see how unauthorized text messages are not also
 3
       concrete injury. Therefore, this Court concludes—as Leyse, Zani, and Bell did in similar
 4
       circumstances—that Plaintiffs have adequately alleged injury in fact sufficient to establish
 5
       Article III standing. Melito v. Am. Eagle Outfitters, Inc., No. 14-CV-2440 (VEC), 2017 U.S.
 6

 7     Dist. LEXIS 146343, at *19 (S.D.N.Y. Sep. 8, 2017).

 8

 9                                    FACTUAL ALLEGATIONS
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          18.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
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       though fully state herein with the same force and effect as if the same were set forth at length
12
       herein.
13
          19.     On information and belief, on a date better known to Defendant, Defendant began
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15     calling Plaintiff’s cellular telephone, using an automatic telephone dialing system (“ATDS” or

16     “predictive dialer”) and/or using an artificial or prerecorded voice.
17        20.     Defendant placed calls to Plaintiff’s cell phone number ending in 6365 in the
18
       manner described previously.
19
          21.     Plaintiff spoke with Defendant on or around March 23, 2018 and revoked any
20
       consent that Defendant may have had to contact him on his cellular telephone.
21

22        22.     Once Defendant was aware that its calls were unwanted, its continued calls could

23     have served no purpose other than harassment.

24        23.     By calling the Plaintiff, the Plaintiff was harmed in the exact way that Congress
25     sought to protect in enacting the TCPA.
26
          24.     These unsolicited calls placed to Plaintiff’s wireless telephone were placed via an
27
       “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. § 227 (a)(1), which
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 1     had the capacity to produce or store numbers randomly or sequentially, and to dial such
 2     numbers, to place text message calls to Plaintiff’s cellular telephone.
 3
          25.     The telephone number that Defendant, or its agents, called was assigned to a
 4
       cellular telephone service for which Plaintiff incurred monthly charges pursuant to 47 U.S.C.
 5
       § 227 (b)(1).
 6

 7        26.     These calls constitute calls that were not for emergency purposes as defined by 47

 8     U.S.C. § 227(b)(1)(A)(i).

 9        27.     Plaintiff did not provide Defendant or its agents prior express consent to receive
10
       unsolicited phone calls pursuant to 47 U.S.C. § 227 (b)(1)(A) and revoked any alleged prior
11
       express consent, yet still continued to receive phone calls.
12
          28.     These calls by Defendant or its agents therefore violated 47 U.S.C. § 227(b)(1).
13

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16                                         FIRST CAUSE OF ACTION
              (NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT)
17                                             47 U.S.C. § 227 ET SEQ.
          29.    Plaintiff repeats, reiterates and incorporates the allegations contained in all of the
18

19     paragraphs of this Complaint with the same force and effect as if the same were set forth at

20     length herein.
21        30.     The foregoing acts and omissions of Defendants constitute numerous and multiple
22
       negligent violations of the TCPA, including but not limited to each and every one of the
23
       above cited provisions of 47 U.S.C. § 227 et seq.
24
          31.     As a result of Defendants negligent violations of 47 U.S.C. § 227 et seq., Plaintiffs
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26     and the Class are entitled to an award of $500.00 in statutory damages for each and every

27     violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

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 1
                                            SECOND CAUSE OF ACTION
 2                (KNOWING  AND/OR WILLFUL VIOLATIONS               OF    THE   TELEPHONE      CONSUMER
                  PROTECTION ACT) 47 U.S.C. § 227 ET SEQ.
 3

 4
            32.      Plaintiff repeats, reiterates and incorporates the allegations contained in all of the
 5
        paragraphs of this Complaint with the same force and effect as if the same were set forth at
 6

 7      length herein.

 8          33.      The foregoing acts and omissions of Defendants constitute numerous and multiple

 9      negligent violations of the TCPA, including but not limited to each and every one of the
10
        above cited provisions of 47 U.S.C. § 227 et seq.
11
            34.      As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. § 227 et
12
        seq., Plaintiff and each of the Class are entitled to treble damages, as provided by statute, up
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        to $1,500.00 for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.
14

15      § 227(b)(3)(C).

16

17                                     DEMAND FOR TRIAL BY JURY
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            35.      Plaintiff demands and hereby respectfully requests a trial by jury for all claims and
19
        issues this complaint to which Plaintiff is or may be entitled to a jury trial.
20

21

22                                        PRAYER FOR RELIEF

23   WHEREFORE, Plaintiff Yehuda Izmagristo demands judgment from the First Bankcard a

24   division of First National Bank of Omaha as follows:
25          a)       For actual damages provided and pursuant to 47 U.S.C. § 227(b)(3);
26
            b)       For statutory damages provided and pursuant to 47 U.S.C. § 227(b)(3);
27
            c)       For attorney fees and costs provided and pursuant to 47 U.S.C. § 227(b)(3);
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 1         d)     A declaration that the Defendant’s practices violated the TCPA; and
 2         e)     For any such other and further relief, as well as further costs, expenses and
 3
                  disbursements of this action as this Court may deem just and proper.
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 5

 6   DATED, this 27 day of March, 2019
 7
                                                               /s/Robert M. Tzall
 8                                                      Robert M. Tzall
                                                        The Law Offices of Robert M. Tzall
 9                                                      Attorney for Plaintiff
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